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8                       IN THE UNITED STATES DISTRICT COURT FOR THE
9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )           Case No. 1:07-CR-00315 OWW
                                         )
12                     Plaintiff,        )           STIPULATION TO CONTINUE DATE
           v.                            )           FOR STATUS CONFERENCE
13                                       )
                                         )
14                                       )           DATE: April 13, 2009
     CARLOS SARABIA, et al.,             )           TIME: 9:00 a.m.
15                                       )           PLACE: Courtroom 3
                                         )
16                     Defendants.       )           Honorable Oliver W. Wanger
     ____________________________________)
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18          Upon the stipulation of the parties and good cause appearing therefore,
19          IT IS HEREBY ORDERED that the status conference presently set for
20   April 13, 2009 at 9:00 a.m. is continued until May 11, 2009, at 9:00 a.m., to be heard before the
21   Honorable Oliver W. Wanger, Courtroom 3 and that the resulting period of delay occurring
22   between April 13, 2009, and the date for the status conference shall be excluded for speedy trial
23   purposes pursuant to 18 U.S.C. § 3161 (h)(1)(F)
24   IT IS SO ORDERED.
25   Dated: April 9, 2009                             /s/ Oliver W. Wanger
     emm0d6                                      UNITED STATES DISTRICT JUDGE
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